

Per Curiam.

The reasonable rent fixed by agreement pursuant to the provisions of the Commercial Rent Law (L. 1945, ch. 3, § 4, as amd.) became the emergency rent and measured the liability of the tenant upon the expiration of the lease (Manuel Realty Corp. v. Blank, 198 Misc. 393, affd. 198 Misc. 395, affd. 277 App. Div. 884; R. B. R. Realty Co. v. Brzezinski, 84 N. Y. S. 2d 789).
The final order should be unanimously modified on the law by increasing the amount awarded to the landlord to $1,814, with appropriate costs in the court below, and as so modified, affirmed, with $25 costs to the landlord.
Hart, Arkwright and Brown, JJ., concur.
Final order modified, etc.
